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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                     )
                                               )
                       Plaintiff,              )
                                               )
        v.                                     )       Cause No. 1:07-cr-0090-WTL-DKL-2
                                               )
 ANGEL S. TURNER,                              )
                                               )
                       Defendant.              )

                Magistrate Judge’s Report and Recommendation

        This matter is before the undersigned according to the Order entered by the Honorable

 William T. Lawrence, directing the duty magistrate judge to conduct a hearing on the Petition for

 Warrant or Summons for Offender Under Supervision (“Petition”) filed on November 25, 2014,

 and to submit proposed Findings of Facts and Recommendations for disposition under 18 U.S.C.

 §§ 3401(i) and 3583(e). Proceedings were held on December 22, 2014, in accordance with Rule

 32.1 of the Federal Rules of Criminal Procedure.1

        On December 22, 2014, defendant Angel S. Turner appeared in person with her

 appointed counsel, Mike Donahoe. The government appeared by Josh Minkler, Assistant United

 States Attorney. The United States Probation Office (“USPO”) appeared by Officer Shelly

 McKee, who participated in the proceedings.




 1
        All proceedings were recorded by suitable sound recording equipment unless otherwise
 noted. See 18 U.S.C. § 3401(e).


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         The court conducted the following procedures in accordance with Federal Rule of

 Criminal Procedure 32.1(a)(1) and 18 U.S.C. § 3583:

         1.      The court advised Ms. Turner of her right to remain silent, her right to counsel,

 and her right to be advised of the charges against her. The court asked Ms. Turner questions to

 ensure that she had the ability to understand the proceedings and his rights.

         2.      A copy of the Petition was provided to Ms. Turner and her counsel, who informed

 the court they had reviewed the Petition and that Ms. Turner understood the violations alleged.

 Ms. Turner waived further reading of the Petition.

         3.      The court advised Ms. Turner of her right to a preliminary hearing and its purpose

 in regard to the alleged violations of her supervised release specified in the Petition. Ms. Turner

 was advised of the rights she would have at a preliminary hearing. Ms. Turner stated that she

 wished to waive her right to a preliminary hearing.

         4.      Ms. Turner stipulated that there is a basis in fact to hold her on the specifications

 of violations of supervised release as set forth in the Petition. Ms. Turner executed a written

 waiver of the preliminary hearing, which the court accepted.

         5.      The court advised Ms. Turner of her right to a hearing on the Petition and of her

 rights in connection with a hearing. The court specifically advised her that at a hearing, she

 would have the right to present evidence, to cross-examine any witnesses presented by the

 United States, and to question witnesses against her unless the court determined that the interests

 of justice did not require a witness to appear.

         6.      Ms. Turner, by counsel, stipulated that she committed Violation Numbers 1, 2, 3,

 4, 5, 6, and 7 set forth in the Petition as follows:




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       Violation
       Number      Nature of Noncompliance

          1        “The defendant shall answer truthfully all inquiries by the probation
                   officer and follow the instructions of the probation officer.”

                   The offender was provided written instructions by the probation officer to
                   remit a $75 relapse fee no later than April 1, 2014. The offender was
                   instructed to report to the probation office on August 8, 2014, with
                   completed paperwork; however, she failed to report as instructed or
                   contact this officer. On October 20, 2014, a letter was mailed to the
                   offender instructing her to remit a $75 relapse fee no later than November
                   3, 2014. No payment has been remitted despite Ms. Turner being
                   employed.

         2         “The defendant shall notify the probation officer at least ten days prior
                   to any change in residence or employment.”

                   As previously reported to the Court, on or about May 4, 2014, Ms. Turner
                   moved from her approved residence in Indianapolis and did not notify this
                   officer that she had moved until May 30, 2014.

         3         “The defendant shall refrain from excessive use of alcohol and shall not
                   purchase, possess, use, distribute, or administer any controlled
                   substance or any paraphernalia related to any controlled substances,
                   except as prescribed by a physician”

         4         “The defendant shall not frequent places where controlled substances
                   are illegally sold, used, distributed, or administered.”

         5         “The defendant shall refrain from unlawful use of a controlled
                   substance.”

                   On July 15, 30, August 7, 12, and 25, 2014, Ms. Turner provided urine
                   specimens which tested positive for marijuana. Subsequent drug screens
                   collected on September 9, 16, and 30, 2014, yielded negative results.
                   However, on October 8, and 23, and November 11,2 104, the offender again
                   provided positive drug screens for marijuana.

                   As previously reported to the Court, on October 15, 2012, the offender
                   provided a urine specimen which tested positive for opiates. She admitted
                   taking her mother’s hydrocodone prescription for pain. On November 2,
                   2012, the offender provided a urine specimen which tested positive for
                   opiates and marijuana. She admitted taking her mother’s hydrocodone
                   medication; however, she denied using marijuana, despite the sample being
                   confirmed positive for marijuana through an independent laboratory. On


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                        February 23, 22014, Ms. Turner provided a urine specimen which tested
                        positive for marijuana. The offender admitted smoking marijuana. On
                        April 27, and May 30, 2014, the offender provided urine specimens which
                        tested positive for marijuana. She admitted smoking marijuana to produce
                        both positive samples.

             6          “The defendant shall participate in a substance abuse treatment
                        program at the direction of the probation officer, which may include
                        no more than eight drug tests per month. The defendant shall abstain
                        fromt eh use of all intoxicants, including alcohol, while participating in
                        a substance abuse treatment program. The defendant is responsible
                        for paying a portion of the fees of substance abuse testing and/or
                        treatment.”

                        The offender failed to report for scheduled drug screens on June 18, 29, July
                        3, 9, and 28, September 3, October 21, and 31, 2014. She has also failed to
                        attend substance abuse treatment sessions during the months of June, July,
                        September, and October 2014.

                        As previously reported to the Court, Ms. Turner failed to report for
                        scheduled drug screens on February 21 and 23, April 23 and 30, May 4, 13,
                        15, 18, May 29, and June 15, 2014.

             7          “The defendant shall not commit another federal, state, or local crime.

                        As previously reported to the Court, on August 15, 2012, and January 9,
                        2013, Ms. Turner was arrested by a Bartholomew County Sheriff’s Deputy
                        for the offense of Driving While Suspended. Ms. Turner has since obtained
                        a valid driver’s license. In both cases, the offender entered into a pretrial
                        diversion program and has a status check scheduled for April 3, 2015.


        7.       The court placed Ms. Turner under oath and directly inquired of Ms. Turner

 whether she admitted violations 1, 2, 3, 4, 5, 6, and 7 of her supervised release set forth above.

 Ms. Turner admitted the violations as set forth above.

        8.       The parties and the USPO further stipulated that:

                 (a)    The highest grade of Violation (Violation 3 and 5) is a Grade B violation
                        (U.S.S.G. § 7B1.1(a)(2)).

                 (b)    Ms. Turner’s criminal history category is 1II.




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                (c)     The range of imprisonment applicable upon revocation of Mr. Reeves’
                        supervised release, therefore, is 8-14 months’ imprisonment. (See
                        U.S.S.G. § 7B1.4(a).)

        9.      The parties disagreed on the appropriate disposition of the Petition to recommend

 to the court. Counsel for both parties presented argument, and Ms. Turner addressed the court as

 well. The United States requested that Ms. Turner’s supervised release be revoked and that she

 be sentenced to Volunteers of America for eight months. Ms. Turner urged the court not to

 revoke her supervised release, but perhaps to direct home detention as a means of addressing the

 violations. Having considered the arguments and statement of Ms. Turner, the court found that

 its earlier efforts to avoid revocation (in acting on a petition heard in July 2014) did not provide

 the necessary structure to address Ms. Turner’s continued violations related to substance abuse.

 The court therefore ordered as follows: (a) the defendant’s supervised release is to be revoked;

 (b) the defendant will be sentenced to the Volunteers of America for eight (8) months, with no

 supervised release to follow; (c) the defendant is to self-surrender; (d) waiver of subsistence to

 be recommended to the Federal Bureau of Prisons; and (e) RF monitoring to be terminated.

        The court, having heard the admissions of the defendant, the stipulations of the parties,

 and the arguments and position of each party and the USPO, NOW FINDS that the defendant,

 ANGEL S. TURNER, violated the above-specified conditions in the Petition and that her

 supervised release should be and therefore is REVOKED, and she is sentenced to the custody of

 the Attorney General or his designee for a period of eight (8) months, to be served at the

 Volunteers of America, with no supervised release to follow. Waiver of subsistence to be

 recommended to the Federal Bureau of Prisions. RF monitoring to be terminated. The

 defendant is to self-surrender upon designation.

        The parties stipulated in open court waiver of the following:

        1. Notice of the filing of the Magistrate Judge=s Report and Recommendation;

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        2. Objection to the Report and Recommendation of the undersigned Magistrate Judge

 pursuant to Title 28 U.S.C. '636(b)(1)(B) and (C); and, Federal Rules of Criminal Procedure

 59(b)(2).

        The parties entered the above stipulations and waivers after being notified by the

 undersigned Magistrate Judge that the District Court may refuse to accept the stipulations and

 waivers and conduct a revocation hearing pursuant to Title 18 U.S.C. '3561 et seq. and Rule

 32.1 of the Federal Rules of Criminal Procedure and may reconsider the Magistrate Judge=s

 Report and Recommendation, including making a de novo determination of any portion of the

 Report or specified proposed findings or recommendation upon which he may reconsider.

                WHEREFORE, the magistrate judge RECOMMENDS the court adopt the above

 recommendation revoking Ms. Turner’s supervised release, the defendant will be sentenced to

 the Volunteers of America for eight (8) months, with no supervised release to follow, the

 defendant is to self-surrender, waiver of subsistence to be recommended to the Federal Bureau of

 Prisions; and RF monitoring to be terminated.

        IT IS SO RECOMMENDED.


        Date: December 29, 2014

                                            ____________________________________
                                               Debra McVicker Lynch
                                               United States Magistrate Judge
                                               Southern District of Indiana




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